               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

LAWRENCE ALEXANDER JR., ELLIS      )
ALLEN, MITCHELL ALSTON, FRANCES R. )
BANKS, AHMED BLAKE, MICHAEL O.     )
BRODIE, KEVIN E. CHANDLER,         )
CHARLES E. CHERRY, ERNEST          )
CUTHBERTSON, DARRIN DAVIS,         )
STEVEN A. EVANS, WILLIAM GRAVES,   )
MILFORD J. HARRIS II, JONATHAN     )
HEARD, ANTUAN HINSON, STEPHEN L.   )
HUNTER, BRIAN JAMES, DEMETRIUS     )
W. JOHNSON, JOHN O. LEGRANDE,      )
GEORGE M. LITTLE, DARRELL          )
MCDONALD, C.L. MELVIN, STACY A.    )
MORTON JR., WILLIE PARKER, LARRY   )
PATTERSON JR., WILLIAM A. PHIFER, )
JOSEPH PRYOR, NORMAN RANKIN,       )
WAYNE REDFERN, ALEXANDER RICKETTS, )
RONALD ROGERS, STEVEN SNIPES,      )
CALVIN STEVENS JR., ERIC           )
STEVENSON, JERMEIR JACKSON-STROUD, )
JULIUS TUNSTALL, ALLEN WALLACE,    )
FRANK YOUNG and MICHAEL WAYLAND    )
WALL,                              )
                                   )
          Plaintiffs,              )
                                   )
      v.                           )         1:09-CV-934
                                   )
CITY OF GREENSBORO,                )
                                   )
          Defendant.               )

                    MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, District Judge

     Before the court is the motion to dismiss of Defendant City

of Greensboro (“the City”) pursuant to Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6).       (Doc. 7.)       Plaintiffs oppose




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the motion.       (Doc. 15.)       For the reasons set forth below, the

motion will be granted in part and denied in part.

I.     BACKGROUND

       Plaintiffs      commenced      this   action   in    this      court       on

December 7, 2009.       (Doc. 1.)      They filed an Amended Complaint on

March 15, 2010.          (Doc. 4.)      For purposes of this motion to

dismiss, the court will view all factual allegations in the

Amended Complaint in the light most favorable to Plaintiffs as

the non-moving parties.           Ibarra v. United States, 120 F.3d 472,

474 (4th Cir. 1997).

       Plaintiffs1 are all African-American/black police officers

employed by the City through the Greensboro Police Department

(“GPD”) when David Wray (“Wray”) was promoted to Chief of Police

and Gilmer Brady (“Brady”) to Deputy Chief.             Both Wray and Brady

are white.

       After their promotions, Wray and Brady allegedly directed

subordinate officers to gather pictures of black GPD officers

for line-up books and other visual aids that were sometimes

referred     to   as   the   “Black   Book.”     Plaintiffs       contend,    upon

information and belief, that their photographs, likenesses, or

names were included in at least one version of the Black Book,


1
   Thirty-nine Plaintiffs are named in the caption of the Amended
Complaint; Darryl Stevenson is identified as a Plaintiff in paragraph
27 of the Amended Complaint yet is not listed in either the caption or
introductory paragraph.


                                        2



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which Scott Sanders (“Sanders”) — an officer assigned to the

GPD’s Special Intelligence Section (“SID”) — and other non-black

officers showed on numerous occasions to the general public and

criminal suspects in an effort to implicate black GPD officers

in wrongdoing.        Plaintiffs allege that the Black Book was not

compiled or used for any legitimate investigatory purpose.2

        According     to     Plaintiffs,        Wray,     Brady,      and     the    City

improperly used the SID, which was created to investigate groups

like the Ku Klux Klan and street gangs, to investigate black GPD

officers,    including        Plaintiffs,       even     though      the    GPD     had    a

Criminal    Investigation         Division     (“CID”)     whose     purpose      was     to

investigate officer misconduct.                 Wray and Brady instructed SID

officers     to     investigate      black      GPD     officers     numerous        times

without following GPD standards.                  On several occasions, they

allegedly    investigated         black   GPD    officers      and    their     families

despite no complaints having been made against the officers.

When third parties alleged misconduct by GPD officers, moreover,

the SID unit targeted only the black officers involved.                               Upon

instructions of Wray and Brady, and contrary to GPD policy,

black     officers         were    allegedly       investigated            without        any

reasonable suspicion of unlawful conduct in order to test the

officers’ honesty and to entrap them.                   Plaintiffs claim that the

2
  The City contends that the Black Book and subsequent investigations
stemmed from an allegation that a uniformed GPD officer sexually
assaulted a female. (Doc. 4 ¶ 64; see Doc. 5 at 30.)

                                           3



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actions of SID officers created an atmosphere of fear, distrust,

and suspicion and undermined the morale of the GPD.

        Plaintiffs allege that at the direction of Wray and Brady,

Sanders placed keystroke-monitoring devices on the computers “of

numerous Plaintiffs and other African-American officers of the

[GPD]” without just cause.            (Doc. 4 ¶ 101.)           Plaintiffs identify

only Plaintiff Antuan Hinson (“Hinson”), however, as one whose

computer was allegedly monitored for keystrokes to determine a

password      to   allow    Sanders    to       enter    his    email      account    and

download around one year of his emails.

        Plaintiffs also allege that “on numerous occasions” Wray

disparately        disciplined     black        GPD     officers         and   pressured

subordinates to alter findings and evaluations “in order to make

such determinations less favorable to African-American officers

of the [GPD].”          (Id. ¶¶ 91-92.)          The Amended Complaint alleges

as “examples,” however, only instances relating to Plaintiffs

William A. Phifer (“Phifer”) and Stephen L. Hunter (“Hunter”).

It    also    alleges    that     Plaintiffs      Brian      James       (“James”)    and

Lawrence       Alexander    Jr.    (“Alexander”)           were    interrogated           by

Sanders as part of criminal investigations, although the conduct

being        investigated       allegedly        did     not      warrant       criminal

questioning.

        Plaintiffs      allege    generally       that    the     City     “repeatedly,

intentionally, and continuously” throughout Wray’s and Brady’s

                                            4



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tenures at the GPD failed to promote black officers to positions

for which they were qualified and should have been promoted,

although no instance of a Plaintiff being denied a promotion is

alleged.     (Id. ¶ 106.)      Plaintiffs allege that even in cases

where black GPD officers were promoted (Plaintiffs identify two

such officers), such promotions were made only to suggest the

appearance of equal treatment.         Plaintiffs also allege generally

that black GPD officers were “frequently and typically denied

opportunities and benefits afforded to other officers,” although

Plaintiffs    allege   only    facts       relating     to   (1)     a   denial     of

reimbursement of expenses for the attendance of Plaintiff Steven

A. Evans (“Evans”) at a marksmanship certification program and

(2) Wray’s designation of white officers, instead of Evans, as

marksmanship instructors at local community colleges and/or the

Greensboro Police Academy.       (Id. ¶ 108.)

     Plaintiffs   allege      that   the     City     “on    numerous     occasions

violated the North Carolina Personnel Privacy Act in an effort

to embarrass, intimidate, and/or discredit” black GPD officers,

citing a June 2005 meeting with the Greensboro Police Officers

Association during which Wray “publicly discussed the details of

investigations into allegations of criminal conduct, identifying

by name various black officers of the [GPD] in connection with

such investigations.”      (Id. ¶ 112.)        Plaintiffs also allege that

the City “through its employees in positions of management of

                                       5



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the     [GPD]     instituted,      ratified,             and/or       approved       of”     these

discriminatory acts and that race “was at least a motivating

factor for each of the unlawful employment practices described

herein.”     (Id. ¶¶ 109, 111.)

      On    or    about    November      11,        2005,       the    City    retained      Risk

Management Associates (“RMA”), a consulting firm, to investigate

“allegations of wrongdoing by [the City] during David Wray’s

tenure as Chief.”          (Id. ¶ 96.)             RMA interviewed 52 GPD officers

and   law   enforcement         officials       as       part    of     its    review      and   on

December 11, 2005, issued a report (“RMA Report”) that allegedly

found    that     “the    GPD   engaged        in    a    number        of    illegal      and    or

improper        practices”      that    included            “disparate          treatment        of

African-Americans,”               “the               appearance                of          racial

targeting/discrimination,” and “failure to follow procedures.”

(Id. ¶¶ 98-99.)

      Ultimately,         the   City    accepted          the     resignations          of    Wray

(sometime        in   January     2006)     and          Brady        (date    not    alleged).

Thereafter, the City Attorney’s office conducted its own review

and issued a report (“City Legal Report”).                               Pages two through

forty-four        are     attached        to        the     Amended           Complaint          and

incorporated therein by reference.                        (Doc. 5.)           The City Legal

Report details the findings of the City Attorney’s office as to

the circumstances alleged by the Plaintiffs herein and provides

additional instances of alleged wrongful conduct directed toward

                                               6



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certain GPD officers.             Suffice it to say, however, the vast

majority of the Plaintiffs are not mentioned in the City Legal

Report.

        Plaintiffs        now   bring      claims         against     the      City     for

discrimination on the basis of race in violation of Title VII of

the Civil Rights Act of 1964 (as amended), 42 U.S.C. §§ 2000e et

seq. (“Title VII”).3            Plaintiffs seek compensatory and punitive

damages       as   well    as   injunctive         relief.         Before     the     court

presently is the City’s motion to dismiss the Amended Complaint

pursuant      to   Federal      Rules    of       Civil    Procedure       12(b)(1)     and

12(b)(6) (Doc. 7), which has been fully briefed (Docs. 8, 15,

16) and is ready for decision.

II.   ANALYSIS

        The   City   bases      its     motion      to    dismiss     upon    both     Rule

12(b)(1) and Rule 12(b)(6).              The City advances several arguments

under each rule, each of which applies to a distinct set of

Plaintiffs.        Therefore, the court will discuss each argument in

turn.




3
    In a parallel action removed to this court on April 17, 2009,
Plaintiffs bring claims against the City, Wray, Brady, Sanders, and
Greensboro City Council member Trudy Wade under 42 U.S.C. §§ 1981,
1983, and 1985(3), as well as North Carolina contract and tort law.
(See Case No. 1:09-CV-293, Docs. 1, 5.)

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       A.     Standards of Review

              1.     Rule 12(b)(1)

       The existence of subject matter jurisdiction is a threshold

matter that a court must consider before it considers the merits

of an action.           See Steel Co. v. Citizens for a Better Env’t, 523

U.S. 83, 93-95 (1998); Jones v. Am. Postal Workers Union, Nat’l,

192 F.3d 417, 422 (4th Cir. 1999).                        A plaintiff bears the burden

of proving this court’s subject matter jurisdiction.                                 Richmond,

Fredericksburg & Potomac R.R. Co. v. United States, 945 F.2d

765,    768   (4th       Cir.    1991).            When   evaluating        a   challenge      to

subject matter jurisdiction under Rule 12(b)(1), the court may

look    beyond     the       face      of    the       complaint      and    consider       other

evidence outside the pleadings without converting the proceeding

to one for summary judgment.                      Adams v. Bain, 697 F.2d 1213, 1219

(4th Cir. 1982).              A court should dismiss for lack of federal

subject matter jurisdiction “only if the material jurisdictional

facts are not in dispute and the moving party is entitled to

prevail as a matter of law.”                  Richmond, 945 F.2d at 768.

              2.     Rule 12(b)(6)

       The purpose of a Rule 12(b)(6) motion is to “test[] the

sufficiency        of    a    complaint”           and    not    to       “resolve    contests

surrounding        the       facts,         the     merits      of    a     claim,    or     the

applicability of defenses.”                   Republican Party of N.C. v. Martin,

980    F.2d   943,      952     (4th    Cir.       1992).       In    considering       a    Rule

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12(b)(6) motion, a court “must accept as true all of the factual

allegations contained in the complaint,” Erickson v. Pardus, 551

U.S. 89, 94 (2007) (per curiam), and all reasonable inferences

must be drawn in the plaintiff’s favor, Ibarra, 120 F.3d at 474.

       Under Federal Rule of Civil Procedure 8(a)(2), a complaint

must contain a “short and plain statement of the claim showing

that the pleader is entitled to relief.”                      Although the complaint

need only “give the defendant fair notice of what the . . .

claim is and the grounds upon which it rests,” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson,

355 U.S. 41, 47 (1957), abrogated on other grounds by Twombly,

550    U.S.    544),   a    plaintiff’s      obligation          “requires       more    than

labels    and     conclusions,       and     a       formulaic      recitation      of    the

elements of a cause of action will not do,” id.                            Rule 12(b)(6)

protects against meritless litigation by requiring sufficient

factual       information    “to     raise       a    right    to    relief      above    the

speculative level” so as to “nudge[] the[] claims across the

line   from     conceivable     to    plausible.”             Id.   at    555,    570;    see

Ashcroft v. Iqbal, 129 S. Ct. 1937, 1950-51 (2009).

       Employment      discrimination            claims       carry      no      heightened

pleading standard, see Twombly, 550 U.S. at 569-70, nor must an

employment       discrimination        complaint          contain        specific       facts

establishing a prima facie case, Swierkiewicz v. Sorema N.A.,

534 U.S. 506, 510-11, 515 (2002).                      Yet the Fourth Circuit has

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not    interpreted        Swierkiewicz      as     removing      the       burden     of     a

plaintiff to plead facts sufficient to state all the elements of

his claim.         Bass v. E.I. DuPont de Nemours & Co., 324 F.3d 761,

764-65 (4th Cir. 2003) (holding that the plaintiff failed to

allege      facts    sufficient     to    support       all   the     elements      of     her

hostile work environment claim); see also Jordan v. Alt. Res.

Corp.,      458    F.3d   332,   346-47    (4th        Cir.   2006)      (affirming        the

dismissal of a 42 U.S.C. § 1981 discrimination claim because the

complaint did not allege facts supporting the assertion that

race was a motivating factor in the plaintiff’s termination).                               As

is seen below, the court’s task is made more difficult by the

Amended Complaint’s inclusion of forty apparent Plaintiffs under

circumstances where most factual allegations, where they have

any   specificity,        are    related    only       generally      or   (as   in      most

cases) not at all to any particular Plaintiff.

       B.     Arguments Brought Under Rule 12(b)(1)

              1.     Plaintiffs who failed to receive an EEOC Notice
                     of Right to Sue

       The City argues that the Title VII claims of Plaintiffs

Ahmed Blake (“Blake”), Larry Patterson Jr. (“Patterson”), Frank

Young (“Young”), and Darryl Stevenson (“D. Stevenson”)4 should be

dismissed         under   Rule    12(b)(1)       for    failure       to    satisfy        the

jurisdictional prerequisites of Title VII by failing to receive


4
    See supra note 1 on D. Stevenson’s status as a Plaintiff.

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a   Notice   of     Right    to    Sue    (sometimes       called        a    “right-to-sue

letter”)     from    the    EEOC.         “[A]    failure      by       the   plaintiff       to

exhaust    administrative         remedies       concerning         a    Title     VII   claim

deprives the federal courts of subject matter jurisdiction over

the claim.”       Jones v. Calvert Grp., Ltd., 551 F.3d 297, 300 (4th

Cir.    2009).         Title        VII     “specifies         with          precision      the

jurisdictional       prerequisites         that    an     individual          must   satisfy

before he is entitled to institute a lawsuit.”                                 Alexander v.

Gardner-Denver        Co.,        415     U.S.     36,      47      (1974).              “These

jurisdictional       prerequisites         include:      (1)     filing        a   Charge     of

Discrimination with the EEOC within 180 days of the occurrence

of the alleged discrimination; (2) receiving a statutory Notice

of Right to Sue; and (3) filing a lawsuit based on the Charge of

Discrimination within 90 days of receiving the notice.”                                  Rorie

v. Guilford Cnty. Sch., No. 1:06-CV-528, 2007 WL 1385655, at *2

(M.D.N.C. May 8, 2007); see 42 U.S.C. § 2000e-5(e)(1), (f)(1).

       The Fourth Circuit has “long held that receipt of, or at

least entitlement to, a right-to-sue letter is a jurisdictional

prerequisite that must be alleged in a plaintiff’s complaint.”

Davis v. N.C. Dep’t of Corr., 48 F.3d 134, 140 (4th Cir. 1995);5


5
     A few district courts have raised questions concerning the
compatibility of Davis with the reasoning in Arbaugh v. Y & H Corp.,
546 U.S. 500 (2006) (holding specifically that the numerical
qualification in Title VII’s definition of “employer” is an element of
a plaintiff’s claim for relief rather than a jurisdictional issue).
See, e.g., Brown v. McKesson Bioservs. Corp., No. DKC 05-CV-0730, 2006
WL 616021, at *3-*5 (D. Md. Mar. 10, 2006).       However, the Fourth

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see also, e.g., Greene v. Swain Cnty. P’ship for Health, 342 F.

Supp. 2d 442, 447 (W.D.N.C. 2004) (“Without a valid right to sue

letter, a federal court lacks jurisdiction over the Title VII

claims.” (citing Davis)).              “Thus, where ‘[n]either the complaint

nor     the   amended     complaint       alleges’      that    the    plaintiff    has

‘complied       with    these    prerequisites,’        the     plaintiff    has    not

‘properly invoked the court’s jurisdiction under Title VII.’”

Davis, 48 F.3d at 140 (alteration in original) (quoting United

Black Firefighters of Norfolk v. Hirst, 604 F.2d 844, 847 (4th

Cir. 1979)).

        Here, the Amended Complaint states that “[a]ll Plaintiffs

received right-to-sue letters from the United States Department

of    Justice    90    days     or   less   before    the      institution    of   this

lawsuit” (Doc. 4 ¶ 45) and that “[a]ll conditions precedent to

the    institution      of    this   lawsuit     have    been    fulfilled”     (id.).

However,      because    the    City    contends     that      these   jurisdictional

allegations are not true as to Blake, Patterson, Young, and D.

Stevenson, the court “is to regard the pleadings’ allegations as

mere evidence on the issue, and may consider evidence outside


Circuit has recently reaffirmed Davis, albeit without discussing
Arbaugh, see Jones, 551 F.3d at 300, and this court is bound by
directly controlling Fourth Circuit authority. Cf. Brooks v. Vassar,
462 F.3d 341, 360 (4th Cir. 2006) (stating that where a Supreme Court
precedent is directly controlling but called into question by a later
decision, lower courts must apply the directly controlling precedent
unless clearly overruled).   Moreover, no party has raised or briefed
this issue.    Therefore, the court will not pursue this question
further.

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the pleadings.”            Richmond, 945 F.2d at 768.                 The court “may

consider evidence by affidavit, depositions or live testimony”

and will “weigh[] the evidence to determine its jurisdiction.”

Adams, 697 F.2d at 1219.               Plaintiffs bear the burden of proving

subject matter jurisdiction in this context.                            Id.; see also

Richmond, 945 F.2d at 768 (“The district court should apply the

standard    applicable       to    a   motion    for    summary       judgment,     under

which the nonmoving party must set forth specific facts beyond

the pleadings to show that a genuine issue of material fact

exists.”).

     The City has provided affidavits from its Director of Human

Resources, Connie D. Hammond (Doc. 10), and the City Attorney,

A. Terry Wood (Doc. 11).               Both affidavits testify that the City

has neither received nor been made aware of right-to-sue letters

issued by the EEOC to Blake, Patterson, Young, or D. Stevenson.

(Doc. 10 ¶ 3; Doc. 11 ¶ 3.)                Plaintiffs have failed to respond

to the City’s argument, thus providing no evidence that Blake,

Patterson, Young, and D. Stevenson received right-to-sue letters

or were entitled to such letters.                    Moreover, Plaintiffs do not

even acknowledge the City’s argument in their response brief.

     While     the    Amended      Complaint     makes     the    general     assertion

that all Plaintiffs received right-to-sue letters, the evidence

before   the    court       is    that    Blake,     Patterson,         Young,   and      D.

Stevenson    did     not    receive      such   letters.         As   the   court    must

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consider    the     issue     of    subject       matter    jurisdiction       before

considering the merits of the case, see Steel Co., 523 U.S. at

93-95, these four Plaintiffs have failed to carry their burden

of proving the court’s subject matter jurisdiction over their

claims.     Therefore, all claims by Plaintiffs Blake, Patterson,

Young, and D. Stevenson are dismissed for lack of subject matter

jurisdiction.

            2.     Plaintiff Mitchell Alston’s claim

     The    City    contends       that    this   court    lacks     subject   matter

jurisdiction       over     the    claim     of    Plaintiff       Mitchell    Alston

(“Alston”) because he failed to bring his claim within 90 days

of receiving a Notice of Right to Sue from the EEOC.

     A Title VII plaintiff must file a lawsuit based on an EEOC

charge of discrimination within 90 days of receiving a Notice of

Right to Sue.       42 U.S.C. § 2000e-5(f)(1); see Harvey v. City of

New Bern Police Dep’t, 813 F.2d 652, 653-54 (4th Cir. 1987).

However, this is not an issue of subject matter jurisdiction, as

the City does not contend that Alston failed to exhaust his

administrative remedies; rather, the City contends that Alston

was not timely in the exhaustion of his administrative remedies.

While failure to exhaust administrative remedies deprives the

federal courts of subject matter jurisdiction over a Title VII

claim, untimeliness in the exhaustion of administrative remedies

does not.        See Jones, 551 F.3d at 300 & n.2 (citing Zipes v.

                                           14



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Trans World Airlines, Inc., 455 U.S. 385, 393 (1982)); Shepard

v. Lowe’s Food Stores, Inc., No. 1:08-CV-679, 2009 WL 4738203,

at *2 (M.D.N.C. Dec. 7, 2009) (stating, in the context of an ADA

claim, that the 90-day filing requirement in 42 U.S.C. § 2000e-

5(f)(1) “is a non-jurisdictional requirement” and “cannot form

the basis of a Rule 12(b)(1) Motion to Dismiss”).                        Therefore,

the    City’s       argument   is   more   properly     considered      under     Rule

12(b)(6).       See Shepard, 2009 WL 4738203, at *2.

       The City attached to its motion to dismiss the right-to-sue

letter that Alston received from the EEOC.                    (Doc. 8-3 at 45.)

The right-to-sue letter was mailed to Alston on November 24,

2008.       (Id.)    As this action was filed on December 7, 2009, 378

days later, the City contends that Alston filed suit more than

90 days after receiving his right-to-sue letter.                         Plaintiffs

provide no specific response to this argument, noting generally

that    a    Rule     12(b)(6)      dismissal   on    limitations       grounds       is

inappropriate unless it appears on the face of the complaint

that the limitations period has run.                  See Goodman v. Praxair,

Inc., 494 F.3d 458, 464 (4th Cir. 2007) (en banc) (holding that

a statute of limitations defense may only be reached on a Rule

12(b)(6) motion “if all facts necessary to the . . . defense

‘clearly appear[] on the face of the complaint.’” (alteration in

original) (emphasis omitted) (quoting Richmond, Fredericksburg &

Potomac R.R. Co. v. Forst, 4 F.3d 244, 250 (4th Cir. 1993))).

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        While as a general rule extrinsic evidence should not be

considered on a Rule 12(b)(6) motion, “when a defendant attaches

a document to its motion to dismiss, ‘a court may consider it in

determining     whether      to    dismiss      the    complaint       [if]        it     was

integral to and explicitly relied on in the complaint and [if]

the     plaintiffs    do    not    challenge       its      authenticity.’”               Am.

Chiropractic Ass’n v. Trigon Healthcare, Inc., 367 F.3d 212, 234

(4th Cir. 2004) (alterations in original) (quoting Phillips v.

LCI Int’l, Inc., 190 F.3d 609, 618 (4th Cir. 1999)).                                    Here,

Plaintiffs relied upon their right-to-sue letters in the Amended

Complaint by stating that they all received them 90 days or less

before    the      institution     of   this     lawsuit      and      by        explicitly

pointing to them as evidence that “[a]ll conditions precedent to

the institution of this lawsuit have been fulfilled.”                              (Doc. 4

¶ 45.)     Cf. Cohen v. Sheehy Honda of Alexandria, Inc., No. 1:06-

CV-441 (JCC), 2006 WL 1720679, at *2 (E.D. Va. June 19, 2006)

(relying on a Title VII plaintiff’s EEOC charge attached to the

defendant’s Rule 12(b)(6) motion to dismiss and noting that the

plaintiff “would have been unable to file a civil action without

first     filing     such   a     charge    with      the    EEOC”).              Moreover,

Plaintiffs have not challenged the authenticity of any of the

documents    attached       by    the   City    to    its     motion        to    dismiss.

Therefore, the court will consider Alston’s right-to-sue letter

on the City’s motion to dismiss.

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        The court finds that it clearly appears on the face of the

Amended    Complaint     combined    with    Alston’s      right-to-sue       letter

that Alston filed his claim with this court around one year

after    receiving     his    right-to-sue    letter.        Plaintiffs      do    not

provide any explanation or justification for this delay, nor is

Alston even mentioned in Plaintiffs’ response brief.                      Therefore,

the   court    holds   that    Alston’s     Title    VII   claim     is   barred     as

untimely and will be dismissed.             See Baldwin Cnty. Welcome Ctr.

v. Brown, 466 U.S. 147, 149-51 (1984) (per curiam) (holding that

the plaintiff forfeited her right to pursue a Title VII claim by

failing to file her lawsuit within 90 days of receiving a right-

to-sue letter); Brown v. Costco Wholesale Corp., No. PJM 09-CV-

1062, 2009 WL 5170170, at *1 (D. Md. Dec. 18, 2009) (dismissing

a Title VII claim because it was filed 513 days after issuance

of the right-to-sue letter).

              3.   Plaintiffs who allegedly filed untimely charges
                   of discrimination with the EEOC

        The City contends that a number of Plaintiffs’ Title VII

claims should be dismissed because those Plaintiffs failed to

timely file charges of discrimination with the EEOC.                      To file a

claim under Title VII in federal court, a plaintiff must first

exhaust his administrative remedies by filing a timely charge of

discrimination with the EEOC.             Bryant v. Bell Atl. Md., Inc.,

288 F.3d 124, 132 (4th Cir. 2002).                  Title VII mandates that a


                                       17



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plaintiff must file this threshold charge of discrimination with

the EEOC within 180 days of the alleged discriminatory act.                          42

U.S.C. § 2000e-5(e)(1); EEOC v. Commercial Office Prods. Co.,

486 U.S. 107, 110 (1988).6        Failure to timely file a charge with

the EEOC bars the claim in federal court, McCullough v. Branch

Banking & Trust Co., 35 F.3d 127, 131 (4th Cir. 1994), and

courts    have   strictly   enforced        this    requirement,      Tangires       v.

Johns Hopkins Hosp., 79 F. Supp. 2d 587, 597 (D. Md. 2000),

aff’d, 230 F.3d 1354 (4th Cir. 2000) (per curiam) (unpublished

table decision).      Even claims alleging a continuous violation of

Title VII must allege a discriminatory act committed within the

limitations period, Redding v. Anne Arundel Cnty., Md., 996 F.

Supp. 488, 490 (D. Md. 1998), and discrete discriminatory acts

that are timely do not save untimely acts, even if related,

Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 112 (2002).

       Plaintiffs correctly point out that an untimely filed EEOC

charge is not a jurisdictional bar.                See Jones, 551 F.3d at 300

& n.2 (citing Zipes, 455 U.S. at 393).                      Rather, the timely

filing requirement is “a requirement . . . like a statute of

limitations, . . . subject to waiver, estoppel, and equitable

tolling.”     Zipes, 455 U.S. at 393.          The court therefore analyzes


6
   If North Carolina were a “deferral state”, the time period would be
300 days. See 42 U.S.C. § 2000e-5(e)(1). However, North Carolina is
a deferral state in only limited circumstances not applicable here.
Bratcher v. Pharm. Prod. Dev., Inc., 545 F. Supp. 2d 533, 539-43
(E.D.N.C. 2008).

                                       18



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this     argument     under       Rule     12(b)(6).        Cf.     Shepard,      2009     WL

4738203, at *2 (treating defendant’s Rule 12(b)(1) motion to

dismiss for failure to file suit within 90 days of receiving a

right-to-sue letter as a Rule 12(b)(6) motion).

        Plaintiffs allege in the Amended Complaint that they filed

charges with the EEOC7 and that “[a]ll conditions precedent to

the institution of this lawsuit have been fulfilled.”                             (Doc. 4

¶ 45.)      The City has attached the EEOC charges of a majority of

Plaintiffs to its motion to dismiss.                    (Docs. 8-3, 8-4, 8-5.)             As

previously noted, the court may consider documents attached to

the    City’s      motion    to    dismiss     if    they    were    integral      to    and

explicitly relied on in the Amended Complaint and if Plaintiffs

do    not    challenge       their   authenticity.            See    Am.    Chiropractic

Ass’n,      367     F.3d     at    234.        Here,      Plaintiffs        specifically

referenced and relied upon their EEOC charges in the Amended

Complaint (see Doc. 4 ¶ 45), they could not have brought this

action      without    first      filing     these      charges,    and    they    do    not

challenge the authenticity of the charges attached to the City’s

motion      to    dismiss.        Therefore,      the    court     can    rely   on   these

charges in ruling on the motion.                  See Cohen, 2006 WL 1720679, at

*2.


7
   The court assumes this factual allegation to be true at this stage.
Although one footnote in the City’s brief suggests that a few
Plaintiffs may not have filed EEOC charges (see Doc. 8 at 5 n.9), the
City provides no evidence or factual basis for this suggestion and
advances arguments on other grounds.

                                             19



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       The City contends that no discriminatory acts are alleged

to have taken place after Wray’s resignation as Chief which,

according to the City, occurred on January 9, 2006.                            (Doc. 8 at

5.)    Thus, the City argues, any EEOC charges filed after July 8,

2006 (180 days later), were untimely.                     Eighteen Plaintiffs filed

their EEOC charges between July 25, 2006, and August 2, 2006

(see Doc. 8-3 at 41, 43, 47, 49; Doc. 8-4 at 14, 16, 20, 22, 24,

28, 59; Doc. 8-5 at 32, 34, 36, 40, 42, 44, 56),8 and the City

asserts that these Plaintiffs’ Title VII claims should therefore

be dismissed.       (The EEOC charges of all other Plaintiffs either

were filed before July 8, 2006, or were not submitted by the

City.)     In response, Plaintiffs again note generally that a Rule

12(b)(6)       dismissal   on    limitations             grounds    is     inappropriate

unless    it    appears    on    the    face        of    the   complaint       that    the

limitations period has run.            See Goodman, 494 F.3d at 464.                   They

also appear to challenge the argument that no discriminatory

acts occurred after Wray’s resignation.

       The court finds that the facts necessary to the City’s

limitations argument do not clearly appear on the face of either

the   Amended     Complaint     or     the        submitted     EEOC      charges.      The

8
   These Plaintiffs are Alexander, Ellis Allen (“Allen”), Frances R.
Banks (“Banks”), Michael O. Brodie (“Brodie”), William Graves
(“Graves”), Milford J. Harris II (“Harris”), Hinson, Stephen L. Hunter
(“Hunter”), James, John O. LeGrande (“LeGrande”), Stacy A. Morton Jr.
(“Morton”),    Wayne    Redfern    (“Redfern”),   Alexander    Ricketts
(“Ricketts”),   Ronald   Rogers   (“Rogers”),   Eric   Stevenson   (“E.
Stevenson”),   Jermeir    Jackson-Stroud   (“Jackson-Stroud”),   Julius
Tunstall (“Tunstall”), and Allen Wallace (“Wallace”).

                                             20



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Amended Complaint indicates that Wray resigned by sometime in

January 2006 (see Doc. 4 ¶ 61), but no other dates are provided

clearly establishing when the alleged discrimination ended.                           For

example,    the   Amended      Complaint    does    not   allege         the   date      of

Brady’s termination.        The City contends that the court may take

judicial notice of the date of Wray’s termination and related

dates, claiming that they are facts “capable of accurate and

ready determination by resort to sources whose accuracy cannot

reasonably be questioned,” Fed. R. Evid. 201(b), and the City

submits a “Timeline of Events” published by the Greensboro News

& Record.      (Doc. 8-2.)        The court need not decide whether to

consider this document, because even if it did so, it would not

be clear when the allegedly wrongful actions of Sanders and

other     non-black      GPD     officers     toward      Plaintiffs            ceased.

Moreover, each of the eighteen EEOC charges at issue states that

the latest date discrimination took place was April 21, 2006.

(See Doc. 8-3 at 41, 43, 47, 49; Doc. 8-4 at 14, 16, 20, 22, 24,

28, 59; Doc. 8-5 at 32, 34, 36, 40, 42, 44, 56.)                     Because it is

not clear on the face of the Amended Complaint and the submitted

EEOC    charges   that    the    eighteen    EEOC    charges        at     issue   were

untimely, the court will not dismiss these eighteen Plaintiffs’

Title VII claims on this basis.

        The City also contends that the claims of Plaintiffs Evans

and Willie Parker (“Parker”) should be dismissed on untimeliness

                                       21



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grounds.       As to these two Plaintiffs, the City has submitted

only their EEOC Intake Questionnaires, not their EEOC charges.9

(Doc. 8-4 at 4-12; Doc. 8-5 at 2-10.)

       Evans filed his Intake Questionnaire on August 1, 2005.

(See    Doc.    8-4     at   12.)      The      principal    allegation       in   the

Questionnaire is that after Evans was “selected to go to General

Instructor     School,       a   private   meeting    was    held     and   [he]   was

removed from the school” for wrongful reasons.                        (Id. at 5-6.)

The City has submitted an affidavit from Captain Chris Walker,

who was the commanding officer in charge of the GPD’s Training

Department in 2004 and 2005.               (Doc. 9.)      This affidavit states

that Evans attended and completed General Instructor School in

October 2004.         (Id. ¶ 3.)     The City contends that Evans’ alleged

removal from the school must therefore have taken place before

October 2004 and that his Intake Questionnaire was filed around

ten months after this, outside the 180-day limitations period.
9
   It is unclear whether these Intake Questionnaires are integral to
and explicitly relied on in the Amended Complaint, and the parties do
not address this issue in their briefs. (The City simply states that
it “will treat these Intake Questionnaires as if they are properly
filed Charges of Discrimination.”       (Doc. 8 at 5 n.9.))      Unlike
Plaintiffs’ EEOC charges and right-to-sue letters, their Intake
Questionnaires are not mentioned in the Amended Complaint, and the
prerequisite for bringing a Title VII lawsuit is the filing of a
charge, not the filing of an Intake Questionnaire. On the other hand,
if any Plaintiff’s Intake Questionnaire constituted that Plaintiff’s
EEOC charge, the Questionnaire would be integral to and explicitly
relied on in the Amended Complaint.         See Fed. Express Corp. v.
Holowecki, 552 U.S. 389, 404-06 (2008) (finding an EEOC Intake
Questionnaire   sufficient   to   constitute   a   charge  under   some
circumstances). It is unnecessary to decide this issue at this time,
however, because as the following discussion shows, even if the court
considers the Intake Questionnaires, the City’s arguments fail.

                                           22



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     Because the court is analyzing this argument under Rule

12(b)(6), extrinsic evidence submitted by the City will not be

considered unless it is a document integral to and explicitly

relied on in the Amended Complaint, as discussed already.                  The

affidavit of Chris Walker is not integral to or relied on in the

Amended Complaint, so the court will not consider the dates

contained in the affidavit at this stage.              Because nothing on

the face of the Amended Complaint or Evans’ Intake Questionnaire

indicates that Evans filed an untimely EEOC charge, his Title

VII claim will not be dismissed on this basis.

     Parker filed his EEOC Intake Questionnaire on May 5, 2006.

(See Doc. 8-5 at 10.)          The Questionnaire alleges that “for no

apparent reason” Parker’s photograph was shown to citizens and

these citizens were asked about Parker’s involvement in illegal

activity and associations with a drug dealer.           (Id. at 3-4.)          To

the question “Most recent date of alleged harm . . . to you,”

Parker responded, “summer/04.”       (Id. at 3.)      The City points out

that this was nearly two years before the Questionnaire was

filed and argues that Parker’s Title VII claim should therefore

be dismissed.

     Notwithstanding this argument, it is not clear on the face

of the Amended Complaint or Parker’s Intake Questionnaire that

Parker filed an untimely EEOC charge.          The City has not argued

that the Intake Questionnaire constituted Parker’s EEOC charge,

                                     23



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and    if   it     did     not,      the   charge    itself       may   have     encompassed

alleged harms occurring much later than the summer of 2004, such

as    the    use      of    the      line-up     books      alleged     in     the     Amended

Complaint.         See generally Middleton v. Motley Rice, LLC, Civil

Action No. 2:08-3256-CWH, 2010 WL 3167360, at *6 (D.S.C. Aug. 9,

2010)     (“[T]he        EEOC     Charge     Form    and   the     Intake    Questionnaire

serve different purposes. . . . [A]n EEOC Charge Form serves to

define the scope of the [EEOC]’s investigation . . . .” (last

alteration in original) (quoting Barzanty v. Verizon Pa., Inc.,

361 F. App’x 411, 415 (3d Cir. 2010) (unpublished opinion))).

The court declines to dismiss Parker’s Title VII claim at the

Rule 12(b)(6) stage for untimely filing of an EEOC charge on the

basis of one answer in Parker’s Intake Questionnaire.

              4.       Plaintiffs whose claims allegedly                        exceed     the
                       scope of their EEOC charges

        The City contends that a number of Plaintiffs’ Title VII

claims      exceed       the    scope      of   their      EEOC    charges       and   should

therefore        be   dismissed        for   failure       to   exhaust      administrative

remedies.        Plaintiffs do not respond to this argument.

        The scope of a Title VII action is not strictly limited by

the      scope        of       the     preceding        administrative           charge        of

discrimination; rather, the suit is “confined only by the scope

of    the    administrative           investigation         that    can      reasonably        be

expected to follow the charge of discrimination.”                               Chisholm v.


                                                24



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U.S. Postal Serv., 665 F.2d 482, 491 (4th Cir. 1981).                        It is a

“generally accepted principle [in the Fourth Circuit] that the

scope    of    a     Title   VII    lawsuit     may    extend    to    any   kind      of

discrimination like or related to allegations contained in the

charge and growing out of such allegations during the pendency

of the case before the Commission.”                   Nealon v. Stone, 958 F.2d

584, 590 (4th Cir. 1992) (quoting Hill v. W. Electric Co., 672

F.2d 381, 390 n.6 (4th Cir. 1982)) (internal quotation marks

omitted).      “[T]hose discrimination claims stated in the initial

charge, those reasonably related to the original complaint, and

those    developed      by   reasonable        investigation     of    the   original

complaint may be maintained in a subsequent Title VII lawsuit.”

Jones, 551 F.3d at 300 (quoting Evans v. Techs. Applications &

Serv. Co., 80 F.3d 954, 963 (4th Cir. 1996)).                          On the other

hand, “a claim in formal litigation will generally be barred if

the EEOC charge alleges discrimination on one basis, such as

race, and the formal litigation claim alleges discrimination on

a separate basis, such as sex.”                    Id.; see also id. at 301

(holding      that    because      plaintiff’s     EEOC     charge     alleged   only

retaliation but not discrimination on the basis of age, sex, or

race, she failed to exhaust her administrative remedies as to

the discrimination claims).

        The City contends that most of the Plaintiffs’ EEOC charges

only discuss the “Black Book,” and thus all other discriminatory

                                          25



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acts alleged within the Amended Complaint exceed the scope of

their EEOC charges.           Twenty-four Plaintiffs’ EEOC charges allege

that     the     Plaintiff     and     all     other     black       GPD    officers       were

“intimidated and subjected to different terms and conditions of

employment,”         and    that    Wray     maintained         a    “Black       Book”    that

negatively        portrayed        black     officers.10            While       the    Amended

Complaint contains much greater specificity, both the Amended

Complaint      and    these    EEOC     charges        allege       the    same    basis    for

discrimination, that is, race (see Doc. 4 ¶ 111), and the court

finds     that    the      specific    factual         allegations         in    the   Amended

Complaint pertaining to these Plaintiffs are reasonably related

to the original charges.              Therefore, these Plaintiffs’ Title VII

claims do not exceed the scope of their EEOC charges.

        The City also contends that the Amended Complaint exceeds

the scope of the EEOC charges of Plaintiffs Ernest Cuthbertson

(“Cuthbertson”),           Evans,     George      M.   Little       (“Little”),        Darrell

McDonald (“McDonald”), C.L. Melvin (“Melvin”), Parker, Phifer,

10
   These Plaintiffs are Alexander (Doc. 8-3 at 41); Allen (id. at 43);
Banks (id. at 47); Brodie (id. at 49); Kevin E. Chandler (“Chandler”)
(id. at 51); Charles E. Cherry (“Cherry”) (id. at 53); Darrin Davis
(“Davis”) (Doc. 8-4 at 2); Graves (id. at 14); Harris (id. at 16);
Jonathan Heard (“Heard”) (id. at 18); Hinson (id. at 20); Hunter (id.
at 22); James (id. at 24); Demetrius W. Johnson (“Johnson”) (id. at
26); LeGrande (id. at 28); Morton (id. at 59); Redfern (Doc. 8-5 at
32); Ricketts (id. at 34); Rogers (id. at 36); Steven Snipes
(“Snipes”) (id. at 38); E. Stevenson (id. at 40); Jackson-Stroud (id.
at 42); Tunstall (id. at 44); and Wallace (id. at 56). Cherry’s EEOC
charge contains an additional allegation that complaints he filed
against a fellow officer were mishandled and/or not investigated,
thereby “tainting [his] record as a police officer, which consequently
undermined [his] opportunities for promotion.” (Doc. 8-3 at 53.)

                                             26



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Joseph       Pryor     (“Pryor”),      and     Michael     Wayland        Wall   (“Wall”).

However, the City has submitted only the Intake Questionnaires

of these Plaintiffs, not their EEOC charges.                            (See Doc. 8-3 at

55-64; Doc. 8-4 at 4-12, 30-38, 40-47, 49-57; Doc. 8-5 at 2-10,

12-20, 22-30, 46-54.)               The City does not argue that these Intake

Questionnaires constituted the charges of these nine Plaintiffs.

Therefore, the scope of these Plaintiffs’ Title VII claims is

not limited by the scope of their Intake Questionnaires.                                See

Jones, 551 F.3d at 300 (“The scope of the plaintiff’s right to

file a federal lawsuit is determined by the charge’s contents.”

(emphasis          added)).        Because    the   City    has    provided      no   other

evidence that the Title VII claims of these nine Plaintiffs

exceed       the    scope     of   their     EEOC   charges,      the    court   will   not

dismiss the claims on this basis.

        C.     Arguments Brought Under Rule 12(b)(6)

        The City interprets the Amended Complaint as attempting to

assert Title VII claims for hostile work environment, disparate

treatment, and retaliation,11 and Plaintiffs’ response brief does

not challenge this interpretation or indicate that any other

11
     The City’s brief also contains a separate discussion of whether
Plaintiffs have stated claims for failure to promote. (Doc. 8 at 18-
19.)    However, failure to promote is a form of disparate treatment.
See, e.g., Anderson v. Westinghouse Savannah River Co., 406 F.3d 248,
268 (4th Cir. 2005) (discussing the requirements of a “disparate
treatment claim for failure to promote”); DeWitt v. Mecklenburg Cnty.,
73 F. Supp. 2d 589, 596 n.5 (W.D.N.C. 1999) (referring to “failure to
promote and other types of disparate treatment cases”).     Therefore,
the court will not discuss failure to promote separately.


                                               27



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theory, such as disparate impact, is being asserted.12                    In fact,

Plaintiffs respond only to the City’s arguments against their

hostile     work   environment      claims,        leaving    the    City’s    other

arguments unanswered.        The court will examine the allegations in

the Amended Complaint and the attached City Legal Report to

determine      whether    Plaintiffs     have       pleaded     facts    plausibly

showing     that   they   are     entitled    to    relief    for    hostile    work

environment, disparate treatment, or retaliation.                       See Iqbal,

129 S. Ct. at 1950.

        Although Plaintiffs’ “shotgun” complaint presents an array

of generalized grievances and vague allegations, each Plaintiff

individually must allege facts plausibly showing that he or she

is entitled to relief.            Because of this, many of Plaintiffs’

more general allegations are clearly inadequate to state a Title

VII claim under any theory.           For example, Plaintiffs allege that

SID officers “made numerous investigations of black officers”

without following proper standards.                (Doc. 4 ¶ 80.)       Plaintiffs

provide no other details about this allegation, so it is unknown

which of the Plaintiffs were investigated or even whether any

Plaintiffs     were   investigated      at   all.       Similarly,      Plaintiffs

allege that throughout Wray’s and Brady’s tenures at the GPD,


12
   Plaintiffs’ Suggestion of Subsequently Decided Authority contains a
reference to “the disparate impact of Defendant’s policies” (Doc. 17
at 1), but this is Plaintiffs’ only use of this term.       Nowhere do
Plaintiffs indicate that they are attempting to bring a disparate
impact claim or explain what the nature of such a claim would be.

                                        28



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the City repeatedly “failed to promote black officers . . . to

positions for which such officers were qualified.”                         (Id. ¶ 106.)

Again,    the      Amended   Complaint      does     not       indicate     whether    any

individual Plaintiffs were among these officers, nor does it

allege any specific instances in which a Plaintiff was qualified

for and denied a particular promotion.

      Even where the Amended Complaint names specific victims of

the alleged discrimination, they are not always Plaintiffs.                            For

example, the Amended Complaint alleges that Wray excluded two

black Assistant Chiefs, Tim Bellamy and Annie Stevenson, from

“the decision-making process.”               (Id.)        Neither is a Plaintiff,

however.      Allegations like these do not show that any individual

Plaintiff is entitled to relief.

              1.      Hostile Work Environment

      The City argues that the Amended Complaint does not allege

facts sufficient to state a hostile work environment claim for

any Plaintiff.         Plaintiffs respond that they have pleaded facts

satisfying the plausibility standard of Twombly and Iqbal and

giving the City fair notice of the nature of their claims.

      Title     VII    provides      that    it    is     an    unlawful      employment

practice “to discriminate against any individual with respect to

his      compensation,        terms,       conditions,          or       privileges        of

employment,        because   of     such    individual’s         race.”       42    U.S.C.

§ 2000e-2(a)(1).             This    provision       creates         a    hostile     work

                                            29



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environment cause of action.                See EEOC v. Cent. Wholesalers,

Inc., 573 F.3d 167, 174 (4th Cir. 2009).                   To state such a claim,

each Plaintiff must allege harassment that was (1) unwelcome,

(2) based on race, and (3) “sufficiently severe or pervasive to

alter     the   conditions       of    employment     and     create       an    abusive

atmosphere,” and for which (4) “there is some basis for imposing

liability on the employer.”             Bass, 324 F.3d at 765.

        Here,   Plaintiffs       allege    that     Wray     and   Brady        “directed

subordinate officers to gather pictures of black officers of the

Greensboro Police Department for the use of line-up books or

other visuals [sic] aids . . . for the purpose of framing,

embarrassing, and wrongfully investigating and charging black

officers.”      (Doc. 4 ¶ 48.)           Plaintiffs allege, upon information

and belief, that their “photographs, likenesses, and/or names

were    included     in   at     least    one   version      of    the     [l]ine-[u]p

[b]ooks.”       (Id.      ¶    49.)      Non-black     GPD    officers          allegedly

“presented the [l]ine-[u]p [b]ooks to members of the general

public,     including         known    convicted     criminals        and       criminal

suspects,”      to   elicit      false     allegations        against       black     GPD

officers.       (Id. ¶ 50; see id. ¶¶ 48, 56.)                     Plaintiffs also

allege that Wray and Brady authorized the creation of a digital

photograph array of all black GPD officers, and that Sanders

placed this array on his employer-issued laptop computer and



                                           30



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showed it to criminals or suspected criminals to elicit false

allegations against black GPD officers.              (Id. ¶ 49.)

        Plaintiffs have alleged that the creation and use of the

line-up books and digital photograph array were unwelcome (see

id. ¶ 120) and based on race (see id. ¶¶ 66, 110).                      The court

must determine whether Plaintiffs plausibly allege harassment

“sufficiently severe or pervasive to alter the conditions of

employment and create an abusive atmosphere” and whether there

is some basis for imposing liability on the City.

        In     analyzing      whether       the   alleged      harassment       was

“sufficiently severe or pervasive,” the court must examine the

totality of the circumstances, including “the frequency of the

discriminatory conduct; its severity; whether it is physically

threatening or humiliating, or a mere offensive utterance; and

whether       it    unreasonably   interferes     with    an   employee’s      work

performance.”           Spriggs v. Diamond Auto Glass, 242 F.3d 179, 184

(4th Cir. 2001) (quoting Harris v. Forklift Sys., Inc., 510 U.S.

17, 23 (1993)).          The conduct must create an “objectively hostile

or abusive” work environment, and the victim must “perceive the

environment to be abusive.”           Id.

        In Spriggs, the Fourth Circuit held that a reasonable jury

could        find   a    hostile   work     environment    existed     where    the

plaintiff was exposed on a daily basis to “incessant racial

slurs, insults, and epithets” by his supervisor, some directed

                                          31



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at    the     plaintiff      himself,       others      directed     at      other    African-

Americans.        Id. at 182, 184-86.                Here, Plaintiffs’ photographs

(and perhaps other personal information) were allegedly placed

into line-up books and a digital photograph array, and at least

some     of    these    photographs         were     allegedly       shown      to    criminal

defendants, criminal suspects, and the general public for the

purpose of developing criminal charges against one or more black

GPD officers.           (See Doc. 4 ¶¶ 48-50, 56, 63, 66.)                            If these

allegations are true, the existence and use of the line-up books

and digital photograph array may have put each Plaintiff at risk

of false criminal accusations, targeting by criminals, or other

harm.       At this pleading stage, it is reasonable to infer that

Plaintiffs       were     aware       of    these       actions,     since         there     were

“rumors” about the line-up books at least throughout a several-

month period in 2005.                 (See id. ¶ 55; Doc. 5 at 30-31.)                        The

rumors were prevalent enough that Sanders was asked about the

line-up       books    during     a    Command      Staff      briefing       in     June    2005

(Doc. 5 at 30) and Wray later claimed to have been “gravely

concerned       by    this   rumor”        (Doc.    4   ¶   55).      However,         the    GPD

leadership allegedly took no significant action to dispel the

rumors.        (Doc. 5 at 30-31.)              Therefore, the court finds that

Plaintiffs’ Amended Complaint alleges facts plausibly stating

the first three elements of a hostile work environment claim.



                                              32



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        As to the fourth element, the City argues that Plaintiffs

have    failed      to    allege    facts    showing       a   basis     for      imposing

liability on the City.             The City cites Caldwell v. Johnson, 289

F. App’x 579 (4th Cir. 2008) (unpublished per curiam opinion),

for the proposition that a Title VII plaintiff can prevail on a

claim for hostile work environment “arising from the actions of

her coworkers only if the [employer] ‘was negligent in failing,

after    actual      or    constructive      knowledge,        to   take     prompt      and

adequate action to stop it.’”                Id. at 586-87 (quoting Howard v.

Winter, 446 F.3d 559, 567 (4th Cir. 2006)) (internal quotation

marks omitted).           The City asserts that Plaintiffs’ hostile work

environment claim is restricted to alleged actions by “Officer

Sanders and other Police Department employees.”                      (Doc. 8 at 16.)

The    City   then       argues,   without       further   explanation,           that   the

standard for coworker hostile work environment claims applies,

and it contends that Plaintiffs have not alleged failure by the

City to “take prompt and adequate action” to end the harassment

after receiving “actual or constructive knowledge” of it.                                The

City points out that in response to Plaintiffs’ allegations, it

conducted     an     internal      investigation       and     engaged       an    outside

consultant     to    investigate      the        alleged   harassment.            (Doc.    4

¶¶ 90, 96-98.)

        The City overlooks Plaintiffs’ allegations that Wray and

Brady were directly responsible for the creation and use of the

                                            33



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line-up books and digital photograph array.                      (See id. ¶¶ 48-49;

see also ¶ 114 (alleging generally that Plaintiffs suffered a

hostile work environment “as a direct and proximate result of

the    policies     and      practices     of    Wray,     Brady,        and    others”).)

Therefore, the “other Police Department employees” mentioned by

the City include supervisors of Plaintiffs.                      It is a reasonable

inference from the Amended Complaint that Wray, at least, had

“the     ability      ‘to     take    tangible     employment       actions       against

[Plaintiffs],       such      as     hiring,     firing,     failing       to     promote,

reassignment with significantly different responsibilities, or a

decision causing a significant change in benefits.’”                               Howard,

446 F.3d at 566 (quoting Mikels v. City of Durham, N.C., 183

F.3d     323,   333      (4th      Cir.   1999))    (internal       quotation        marks

omitted).       This ability is “[t]he most powerful indication of

supervisory        status,”        id.,   and    indicates       that      Wray    was     a

supervisor of Plaintiffs rather than a coworker.                           In addition,

Brady may have had supervisory authority over certain Plaintiffs

(see, e.g., Doc. 4 ¶ 69 (alleging that the SID was “under the

direct     supervision          of   Brady”)).           Construing        all     factual

allegations in the light most favorable to Plaintiffs, the court

finds    that      the      applicable    rule     is    that    for      hostile     work

environment claims based upon the actions of supervisors, not

coworkers.      Plaintiffs briefly argue that this standard should



                                           34



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apply (see Doc. 15 at 16 n.9), and the City’s reply brief does

not respond.

        “[I]n a case of harassment by a supervisor ‘with immediate

(or     successively     higher)      authority        over       the    employee,’        an

employer is vicariously liable for the harassment.”                            Howard, 446

F.3d at 565 (quoting Burlington Indus., Inc. v. Ellerth, 524

U.S. 742, 765 (1998)); see Faragher v. City of Boca Raton, 524

U.S. 775, 807 (1998).              If no tangible employment action was

taken     against      the     employee,        the    employer          may    raise      an

affirmative       defense     by   establishing        “(a)       that    the     employer

exercised reasonable care to prevent and correct promptly any .

. . harassing behavior, and (b) that the plaintiff employee

unreasonably      failed      to   take   advantage          of   any     preventive       or

corrective opportunities provided by the employer or to avoid

harm otherwise.”         Faragher, 524 U.S. at 807.                 Because the City

has     not   raised    this       affirmative        defense      or     provided      any

arguments in favor of it, the court will not discuss it further.

        Plaintiffs     have    plausibly    stated       a    Title      VII    claim   for

hostile work environment, and this claim may proceed.                              Whether

the     alleged      harassment      was,       and    was        perceived       to    be,

sufficiently      severe      or   pervasive     to    alter      the     conditions       of

employment and create an abusive atmosphere as to each Plaintiff

will be subject to discovery and further proof.                         Because of this



                                           35



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holding,       the       court          need    not        analyze         Plaintiffs’        other

allegations under the hostile work environment rubric.

              2.        Disparate Treatment

        The City apparently concedes that Plaintiffs Alexander and

Evans have alleged facts sufficient to state disparate treatment

claims.        (See      Doc.       8    at    16    n.16.)             Therefore,      these   two

Plaintiffs’ Title VII disparate treatment claims may proceed.13

        The   City      argues       that      all       other     Plaintiffs’        claims    for

disparate treatment should be dismissed for failure to plead

facts     showing        the        Plaintiffs            suffered        adverse       employment

actions.      Plaintiffs have not responded to this argument.

                        a.     All Plaintiffs

        The only allegations in the Amended Complaint that clearly

pertain       to     each      Plaintiff            and    that         possess     the     factual

specificity        needed       to      state       any     claim       are   the     allegations

concerning the creation and use of the line-up books and digital

photograph array that allegedly contained the photographs of all

Plaintiffs.        Although Plaintiffs allege that non-black officers

did    not    receive        this       treatment         (Doc.     4    ¶¶   66,    110),    these

allegations        do    not    successfully              state     a    claim    for     disparate

treatment under Title VII.



13
    The court notes that Alexander’s claim appears to be for disparate
discipline, the elements of which are simply a variation on the usual
disparate treatment elements.   See Moore v. City of Charlotte, N.C.,
754 F.2d 1100, 1105-06 (4th Cir. 1985).

                                                    36



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       To make out a prima facie disparate treatment claim in the

employment setting, Plaintiffs must establish that (1) they are

members    of    a   protected    class,      (2)   they    suffered    an   adverse

employment action, (3) they were performing in a manner that

satisfied       their   employer’s      legitimate     job    expectations,       and

(4) the adverse employment action occurred “under circumstances

which give rise to an inference of unlawful discrimination.”

Jenkins v. Trs. of Sandhills Cmty. Coll., 259 F. Supp. 2d 432,

443 (M.D.N.C. 2003) (quoting EEOC v. Sears Roebuck & Co., 243

F.3d 846, 851 n.2 (4th Cir. 2001)), aff’d, 80 F. App’x 819 (4th

Cir.   2003)     (unpublished     per   curiam      opinion);    see    Holland       v.

Wash. Homes, Inc., 487 F.3d 208, 214 (4th Cir. 2007).

       While    Plaintiffs’      complaint     need   not    allege     facts   that

constitute a prima facie case, see Jordan, 458 F.3d at 346, they

must still “allege facts sufficient to state all the elements of

[their] claim,” id. (emphasis omitted) (quoting Bass, 324 F.3d

at 765).       A key element that Plaintiffs must allege is that they

each suffered an “adverse employment action.”                        See Harman v.

Unisys Corp., 356 F. App’x 638, 641 (4th Cir. 2009) (unpublished

per curiam opinion) (citing Page v. Bolger, 645 F.2d 227, 233

(4th Cir. 1981) (en banc)); Hoffman v. Balt. Police Dep’t, 379

F. Supp. 2d 778, 792 (D. Md. 2005) (“It is well settled that to

state a cause of action for disparate treatment under Title VII

. . . the plaintiff must allege that he suffered an ‘adverse

                                         37



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employment action.’”); cf. Fletcher v. Philip Morris USA Inc.,

No. 3:09-CV-284 (HEH), 2009 WL 2067807, at *5-*6 (E.D. Va. July

14, 2009) (analyzing, in the context of a disparate treatment

claim under 42 U.S.C. § 1981, whether the plaintiff sufficiently

alleged an adverse employment action).

          An   “adverse      employment         action”         is     “a    discriminatory          act

that ‘adversely affect[s] the terms, conditions, or benefits of

the       plaintiff’s        employment.’”              Holland,             487    F.3d     at      219

(alteration          in     original)       (quoting             James       v.     Booz-Allen         &

Hamilton,          Inc.,    368    F.3d   371,        375       (4th    Cir.       2004)).         While

“[c]onduct short of ultimate employment decisions can constitute

adverse employment action,” James, 368 F.3d at 375-76 (quoting

Von       Gunten    v.     Maryland,      243    F.3d       858,       865    (4th    Cir.     2001),

abrogated on other grounds by Burlington N. & Santa Fe Ry. Co.

v.        White,    548     U.S.    53     (2006))          (internal          quotation           marks

omitted), the “typical requirements for a showing of an ‘adverse

employment action’” are “discharge, demotion, decrease in pay or

benefits, loss of job title or supervisory responsibility, or

reduced opportunities for promotion,”                            Boone v. Goldin, 178 F.3d

253, 255 (4th Cir. 1999).                   For example, the Fourth Circuit has

held that a reassignment only constitutes an “adverse employment

action”        if    the    reassignment         has        a    “significant          detrimental

effect” on the plaintiff.                 Id. at 256.             “[E]ven if the new job .

.     .    cause[s]        some    modest       stress          not     present       in     the     old

                                                 38



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position,”       reassignment         to     a   new     position       “commensurate       with

one’s salary level” is not an “adverse employment action” unless

there     is    a    “decrease        in    compensation,          job    title,     level      of

responsibility, or opportunity for promotion.”                                 Id. at 256-57.

As     another           example,     “a     poor       performance           evaluation     ‘is

actionable          only      where    the       employer       subsequently         uses    the

evaluation          as    a   basis   to     detrimentally          alter      the   terms      or

conditions of the recipient’s employment.’”                             James, 368 F.3d at

377 (quoting Spears v. Mo. Dep’t of Corr. & Human Res., 210 F.3d

850, 854 (8th Cir. 2000)).                  “An evaluation merely causing a loss

of prestige or status is not actionable.”                         Id.

        Here,       Plaintiffs        have       not     alleged      facts      showing     any

concrete harm resulting from the creation of the line-up books

or digital photograph array, let alone any harm involving the

“terms, conditions, or benefits” of their employment.                                      It is

unclear from Plaintiffs’ allegations whether all of the claimed

line-up        books      and   photographs            were   shown      to    criminals     and

suspected criminals.                If only some were, it is not clear which

Plaintiffs’ photographs were shown,14 nor is it clear how each

individual Plaintiff was affected by all this.                            The most serious

allegation is that the line-up books “resulted in the exposure


14
    The City Legal Report attached to Plaintiffs’ Amended Complaint
indicates that Patterson’s photograph was shown to “witnesses,” but no
further details are provided.    (See Doc. 5 at 30.)    In any event,
Patterson’s Title VII claim has already been dismissed for lack of
subject matter jurisdiction.

                                                 39



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of black officers . . . who were working undercover” (Doc. 4

¶ 50), but Plaintiffs do not allege any additional facts showing

how this entitles any individual Plaintiff to relief.                           The only

alleged harm applicable to each Plaintiff is the creation of the

line-up books and digital photograph array itself, and this does

not satisfy the definition of an actionable “adverse employment

action.”     Therefore, these allegations do not state a claim for

disparate treatment.

     The     court     will         now     consider      allegations        involving

individual    Plaintiffs          to      determine     whether       any   individual

Plaintiff may pursue a disparate treatment claim.

                  b.        Plaintiff Antuan Hinson

     The     Amended        Complaint       alleges     that     Sanders        (at     the

direction    of      Wray     and      Brady)     secretly      placed      keystroke-

monitoring    devices        on     the    computers     of    several      black      GPD

officers, including Hinson, without justification, that Sanders

monitored    Hinson’s       keystrokes       to   determine     his     password,      and

that he used that password to enter Hinson’s email account and

download one year of Hinson’s emails.                   (Doc. 4 ¶ 101.)          Sanders

allegedly    admitted       to    these     actions     in    early     2009.         (Id.)

Hinson alleges that these actions violated GPD policies and that

no keystroke-monitoring devices have been used on any non-black

officer’s computer.          (Id. ¶¶ 102-03.)



                                            40



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        The court finds that Hinson has not stated a claim for

disparate treatment, because he has not alleged any “adverse

employment action” — the GPD Defendants took no action affecting

the    “terms,    conditions,          or    benefits”        of   Hinson’s   employment.

Cf. Skipper v. Giant Food, Inc., 187 F. Supp. 2d 490, 492-94 (D.

Md. 2002) (holding that the employer’s surveillance of plaintiff

at work, followed by an announcement of his productivity over a

company loudspeaker, was not an “adverse employment action” for

purposes of a disparate treatment or disparate discipline claim

under     Title    VII,    since       these        actions    did    not   lead     to   any

discipline or any change in the terms, conditions, or benefits

of plaintiff’s employment), aff’d, 68 F. App’x 393 (4th Cir.

2003) (unpublished per curiam opinion).                        Moreover, violation of

GPD policies, without more, does not provide grounds for a Title

VII disparate treatment claim.

                      c.    Plaintiff Brian James

        According to the City Legal Report attached to the Amended

Complaint, James was monitored and then criminally interrogated

by     SID    officers      after           allegedly      associating        with    known

offenders,       although       this    is    only     a   policy     violation,      not   a

crime.        (Doc.    5   at    20.)         James     alleges      that   his    criminal

interrogation by Sanders and SID was discriminatory, claiming

that (a) his offense did not warrant criminal questioning and

(b)    “the   investigations           ‘were    administrative,         and   should      not

                                               41



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have    been    undertaken   by    Detective         Sanders.’”        (Doc.   4   ¶    95

(quoting Doc. 5 at 39).)           When James asked for an administrative

inquiry or investigation to clear his name, his superiors did

not    honor    this   request.        (Doc.     5    at    20.)       After   Officer

Domitrivits, a white officer, allegedly associated with a known

offender, she was given counseling and was instructed not to

commit this violation again, but no investigation took place.

(Id.)

        James has not alleged that any disciplinary measures were

taken against him, nor has he alleged any adverse effect upon

the    terms,    conditions,      or   benefits       of    his    employment.         See

Dawson v. Rumsfeld, No. 1:05-CV-1270 (JCC), 2006 WL 325867, at

*6 (E.D. Va. Feb. 8, 2006) (inferring from Fourth Circuit case

law that “the mere decision to initiate an investigation is not

an adverse employment action”); Hoffman, 379 F. Supp. 2d at 792

(stating, in response to a “disparate investigation” claim, that

“[t]he few courts that have considered whether an investigation,

by    itself,    can   constitute      an    adverse       employment    action    have

answered that question in the negative”); see also Locklear v.

Person Cnty. Bd. of Educ., No. 1:05-CV-255, 2006 WL 1743460, at

*7 (M.D.N.C. June 22, 2006) (“[A] suspension with pay during an

investigation into a complaint about a doctored answer sheet




                                            42



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cannot constitute an adverse employment action.”).15                                    Moreover,

James has not alleged that any concrete investigative findings

were    made    against        him    from      which    he     wishes      his    name    to     be

cleared or that he received any reprimand — he has alleged only

the    investigation          itself.          Cf.    James,       368   F.3d     at    377   (“[A

performance] evaluation merely causing a loss of prestige or

status is not actionable.”); Skipper, 187 F. Supp. 2d at 493-94,

494 n.4 (citing Keenan v. Am. Cast Iron Pipe Co., 707 F.2d 1274,

1277 (11th Cir. 1983)) (holding that a written warning alone is

not     an   “adverse        employment         action,”        but      indicating       that    a

reprimand that cannot be expunged from the employee’s file and

that might affect the employee’s ability to secure promotions

and      credit        may      be        an     “adverse          employment          action”).

Consequently,          James        has   not    stated        a    claim       for    disparate

treatment.

                       d.     Plaintiff Norman Rankin

        (1) Discriminatory Investigation:                          According to the City

Legal        Report,        Norman        Rankin        (“Rankin”)          was        criminally

investigated by SID for alleged connections to known offenders

“in     order     to        clear     [him]      of     violating         the     Department’s

15
    An investigation may be a sufficient adverse action in the context
of a retaliation claim.    See Hetzel v. Cnty. Of Prince William, 89
F.3d 169, 171-72 (4th Cir. 1996); cf. Williams v. Hansen, 326 F.3d
569, 585 n.1 (4th Cir. 2003) (King, J., dissenting) (citing Hetzel in
the context of an equal protection claim). However, the definition of
“adverse action” in the retaliation context is broader than the
definition of “adverse employment action” in the disparate treatment
context. See White, 548 U.S. at 67.

                                                43



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directives against associating with known offenders.”                              (Doc. 5

at 21.), and he was cleared (id.).                     Officer T.V. Moore, a white

officer,      was    not    investigated        for    allegedly      more      significant

connections to known offenders.                     Instead, he was consulted by

his supervisor about how he wanted the incident handled.                                (Id.)

Like     James,      Rankin    has       not    alleged      that    any     disciplinary

measures were taken against him, nor has he alleged any adverse

effect       upon    the      terms,       conditions,       or     benefits       of     his

employment.         The investigation itself, standing alone, does not

constitute an “adverse employment action.”                        See Dawson, 2006 WL

325867, at *6; Hoffman, 379 F. Supp. 2d at 792.                                 Therefore,

these allegations do not state a claim for disparate treatment.

       (2)    Discussion       of    Personnel         Information:          The    Amended

Complaint also alleges generally that in a June 2005 meeting

with the Greensboro Police Officers Association, Wray “publicly

discussed      the    details       of    investigations       into       allegations       of

criminal conduct, identifying by name various black officers of

the    Greensboro          Police    Department         in   connection         with     such

investigations.”           (Doc. 4 ¶ 112.)            The City Legal Report states

that at this meeting, Wray “improperly and maliciously discussed

confidential         personnel       matters”         involving     Rankin,      Patterson

(whose    Title      VII     claim     has     been    dismissed),        and    two    black

officers who are not Plaintiffs in this case.                         (Doc. 5 at 11.)

Wray’s actions allegedly violated North Carolina law.                                   (Id.)

                                               44



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Plaintiffs do not allege what information was revealed or how

Rankin or the other officers were affected, other than that Wray

pointed at Rankin and stated, “We looked at you too, but cleared

you,”     or   words       to    that    effect.         (Doc.    4    ¶     112.)       These

allegations      do    not       state     a    claim    for     disparate       treatment,

because Rankin does not allege that he suffered any “adverse

employment action.”               Cf. Skipper, 187 F. Supp. 2d at 493-94

(holding that disclosure of plaintiff’s job performance via a

company loudspeaker was not an “adverse employment action”).

                      e.        Plaintiffs Rankin and Cuthbertson

        (1) Undercutting of Plaintiffs’ Investigation:                            According

to the City Legal Report, Rankin and Cuthbertson, both officers

within the SID, were assigned the investigation of Snipes for

possible association with prostitutes.                     (Doc. 5 at 25.)           Sanders

requested that a white officer (Sloan) continue to be involved

in     this    investigation,            expressing       doubt       that     Rankin      and

Cuthbertson were competent.                (Id.)        Sanders told Sloan, who had

initiated the investigation, not to share all the information he

knew with Rankin or Cuthbertson and not to let them meet with a

crucial informant.              (Id.)    Sanders said that he wanted Rankin to

fail so that Wray would assign this investigation “back to us.”

(Id. at 25-26.)             These allegations do not state a disparate

treatment claim, because even assuming that similarly situated

non-black      officers         received       different     treatment,         Rankin    and

                                               45



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Cuthbertson have not alleged any “adverse employment action.”

See     generally     Boone,     178    F.3d     at    256    (holding       that       even

reassignment to a less appealing position is not an “adverse

employment action” unless it has “some significant detrimental

effect” on the plaintiff).

        (2) Fake Investigations:            Cuthbertson also alleges that he

was     repeatedly       assigned      to   investigate       fabricated          criminal

activity so that in his absence the other SID officers could

investigate        black   GPD    officers.           (Doc.     4   ¶     107.)         Like

Cuthbertson’s       previous      allegation,         this    allegation        fails     to

satisfy the “adverse employment action” requirement and does not

state a disparate treatment claim.

                    f.     Plaintiff Joseph Pryor

        (1) Improper Administrative Pressure:                  No specific factual

allegations        concerning       Pryor    are      provided      in    the      Amended

Complaint.           However,       the     attached         City       Legal      Report,

incorporated by reference into the Amended Complaint, alleges

that Pryor was criminally and then administratively investigated

for an improper arrest and use of force.16                          (Doc. 5 at 19.)

After      these     investigations          were      closed       and     Pryor        was

administratively         disciplined,       Wray    allegedly       brought       improper




16
    The court assumes that the “Officer Pryor” discussed in the City
Legal Report is the same as Plaintiff Joseph Pryor.


                                            46



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pressure on Captain Tony Phifer (“Captain Phifer”)17 to increase

the discipline imposed on Pryor.                         Captain Phifer acquiesced to

Wray’s request.            (Id.)

          Pryor    has    not     alleged       facts     plausibly         showing       that     his

increased discipline was because of his race.                                     See Coleman v.

Md.       Court    of     Appeals,        626    F.3d     187,       191     (4th       Cir.     2010)

(dismissing a Title VII disparate treatment claim where “the

complaint fail[ed] to establish a plausible basis for believing

.     .    .    that      race     was     the        true     basis        for     [plaintiff’s]

termination”);            cf.    Jordan,        458    F.3d    at     346-47       (dismissing      a

section        1981     discrimination          claim     where       the    court       could    not

“discern          [from       plaintiff’s         alleged          facts]         any    way      that

[plaintiff’s] race factored into his termination”).                                     The Amended

Complaint and City Legal Report contain no examples, black or

non-black,         of     a     similarly       situated       GPD     officer          (i.e.,    one

disciplined for the unwarranted use of force), let alone one who

received different treatment.                         Cf. Herbig v. Int’l Bus. Machs.

Corp., 796 F. Supp. 865, 866 (D. Md. 1992) (“[T]he sine qua non

of     a    disparate         discipline         claim        in     this    Circuit       [is      an

allegation         that]        others,    not        within       [plaintiff’s]          protected

group[], who engaged in comparable prohibited conduct, were more

favorably          treated        (less         severely           disciplined)          than      was


17
    It is unclear whether Captain Tony Phifer is the same person as
Plaintiff William A. Phifer.

                                                  47



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[plaintiff].”),           aff’d,    998      F.2d       1009     (4th     Cir.       1993)    (per

curiam)      (unpublished        table      decision).            The    Amended       Complaint

states that “[a]ll of the examples in the City Legal Report of

such coercion by David Wray leading to increased discipline or

less favorable evaluations were targeted upon black officers”

(Doc.    4    ¶    92),    and     the    City        Legal    Report     does       list    three

instances of “improper administrative pressure” involving black

GPD officers (see Doc. 5 at 18-19).                           However, the Report also

alleges      pressure       brought       by     Wray     upon      Assistant        Chief     Tim

Bellamy to lower the evaluation of a fourth officer, Captain

Anita Holder (“Holder”), whose race is not alleged.                                     (Id. at

19.)         Moreover,      Plaintiffs           acknowledge         that      the    instances

discussed in the City Legal Report are merely “examples.”                                    Thus,

Pryor’s claim would require the court to infer, without any

factual basis, that Holder is also black, that the “examples”

provided in the City Legal Report were the only instances of

such     disciplinary        treatment           (or     that       if     other       instances

occurred,         none   affected        white    officers),        that       therefore     only

black officers received such treatment, and that this indicates

Wray’s       actions      toward    Pryor        individually           were    motivated        by

Pryor’s race.            The court does not find this to be a reasonable

chain of inferences from the facts provided in the City Legal

Report.       Cf. Edwards v. City of Goldsboro, 178 F.3d 231, 244

(4th Cir. 1999) (noting that at the Rule 12(b)(6) stage, the

                                                 48



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court must “draw[] all reasonable factual inferences . . . in

the plaintiff’s favor” (emphasis added)).

       Moreover, although the Amended Complaint states that “the

only example in the City Legal Report of improper administrative

pressure by Defendants to decrease disciplinary action involved

a     white   employee”    (Doc.     4   ¶    92),    the    employee     described

(Corporal Cheryl Cundiff (“Cundiff”)) was charged with a very

different      offense     than     Pryor     (untruthfulness         rather     than

unwarranted use of force), and the City Legal Report itself

states that Cundiff’s husband “was a close friend of Chief Wray

and Deputy Chief Brady” and speculates that this “may account

for     the    favorable        treatment     she      received       during     this

investigation,” (Doc. 5 at 14-15).               Cf. Morris-Belcher v. Hous.

Auth. of the City of Winston-Salem, No. 1:04-CV-255, 2005 WL

1423592, at *7 (M.D.N.C. June 17, 2005) (stating that “the law

is clear that giving preferential treatment to friends or social

acquaintances       does   not    violate     Title     VII”).        Although    the

Amended Complaint alleges that “Plaintiffs’ race was at least a

motivating factor for each of the unlawful employment practices

described herein” (Doc. 4 ¶ 111), such a conclusory statement is

insufficient to state a Title VII disparate treatment claim, see

Coleman,      626   F.3d   at     190-91.      Moreover,        as    noted    above,

violation of GPD disciplinary policies, standing alone, does not

provide grounds for a Title VII claim.                    The court finds that

                                         49



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these allegations by Pryor do not independently support a Title

VII disparate treatment claim.18

        (2)   Potential        Improper      Investigation:        The     City   Legal

Report     also    alleges      that    in    violation    of   GPD    directives,        a

criminal investigation of Pryor was ordered after he had already

been investigated criminally and then administratively.                           After

Captain Phifer met with Wray and protested this action, the

investigation was canceled.                (Doc. 5 at 26.)       Suffice it to say

that Pryor is not entitled to relief under a disparate treatment

theory for an investigation that almost happened.

                    g.     Plaintiff William A. Phifer

        The Amended Complaint alleges that Wray brought improper

pressure on a supervisor of Phifer that resulted in an increased

level of discipline for him.                  (Doc. 4 ¶ 92.)          This allegation

would fail to state a disparate treatment claim for the same

reason as Pryor’s improper-pressure allegation: Phifer has not

alleged facts plausibly showing that his increased discipline

was    because     of    his    race   —     moreover,    Phifer   has     alleged       no

factual details at all about this claim.

        However,    it    appears      that    Plaintiffs   have      misstated    this

allegation, since the Amended Complaint cites to the passage in


18
   If the “Officer Stacey Morten” mentioned in the City Legal Report is
the same as Plaintiff Stacy A. Morton Jr., then Morton makes a similar
allegation of improper pressure from Wray.     (See Doc. 5 at 18-19.)
This allegation fails to state a disparate treatment claim for the
same reasons as Pryor’s allegation.

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the City Legal Report describing how pressure was brought upon

Captain      Phifer      to   increase    the    disciplinary           measures       taken

against Pryor for Pryor’s unwarranted use of force.                           (Doc. 5 at

19.)      It is unclear whether Captain Tony Phifer is the same

person as Plaintiff William A. Phifer.                   If so, Plaintiff Phifer

has no disparate treatment claim for the pressure brought upon

him to increase another officer’s disciplinary level, because

Phifer himself did not receive any discipline and did not suffer

any     “adverse      employment     action.”          Furthermore,           Phifer    has

alleged no facts plausibly showing that the pressure placed upon

him was because of Phifer’s race.

                      h.      Plaintiff Stephen L. Hunter

        (1) Inappropriate Discipline:              In the Amended Complaint,

Hunter alleges that he was falsely accused of damaging a patrol

car that he shared with several other officers and was “given

documented discipline.”            (Doc. 4 ¶ 93.)         After Hunter threatened

to    file   a   grievance       with    the    City    Manager,        the    memorandum

documenting        his     violation      and    recommended        discipline          was

rescinded.       (Id.; Doc. 5 at 36.)            Presumably the rescission of

the memorandum shows that Hunter never should have been charged

in the first place.            However, because Hunter ultimately received

no discipline and suffered no “adverse employment action,” these

allegations do not state a claim for disparate treatment.



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        (2) Retaliatory Investigation:                    The Amended Complaint also

alleges       that    shortly     after        Hunter       threatened        to      file       his

grievance, Cherry was instructed to investigate Hunter’s off-

duty time reporting to establish evidence of possible fraud.

(Doc. 4 ¶ 93.)             After a preliminary inquiry, Cherry ended the

investigation,         finding        insufficient          grounds       for      continuing.

(Doc.     5    at     23-24.)          Meanwhile,         Cherry     learned          of     facts

supporting an allegation of improper off-duty time reporting by

Officer       Heinrich      (“Heinrich”),           a    white    officer,         and      Cherry

reported these facts to his superior.                       However, no investigation

into Heinrich’s actions ever took place.                         (Id. at 24.)              Because

no    disciplinary          measures    were        taken     against        Hunter        and   he

suffered no “adverse employment action,” see Dawson, 2006 WL

325867, at *6 (“[T]he mere decision to initiate an investigation

is not an adverse employment action.”), his allegations do not

state     a    claim       for   disparate          discipline       or      for      disparate

treatment generally.

                      i.      Plaintiff Steven Snipes

        The   City     Legal     Report    states         that    Snipes’        name       “keeps

appearing       and     being     linked        to       prostitutions          and        illicit

parties.”           (Doc.    5   at    30.)         At    one    point,       SID     began       an

investigation into Snipes.                (Id.)         The City Legal Report states

that no support has ever been found for any link between Snipes

and    prostitutes.           (Id.)       As    noted       above,    an     investigation,

                                               52



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without more, is not an “adverse employment action” and does not

support a disparate treatment claim.

                      j.      “Assistant Chief Stevenson”

        The    City    Legal     Report     states       that    Wray       held    informal

meetings of his command staff after hours at a local restaurant,

but     that    “Assistant       Chief     Stevenson”          and    two    other       black

officers were not invited to these meetings until “Assistant

Chief    Stevenson”          questioned    their      exclusion.            (Id.    at    24.)

After     this,       Wray    invited     them     to     the    meetings,         but     they

apparently never attended.                (Id.)     It is unclear whether these

allegations refer to E. Stevenson, D. Stevenson (whose Title VII

claim     has        been     dismissed      for        lack     of     subject          matter

jurisdiction), or Assistant Chief Annie Stevenson, who is not a

Plaintiff       in     this     action,     although       Assistant         Chief        Annie

Stevenson seems the most likely candidate.                       (See Doc. 4 ¶ 106.)

Regardless, no “adverse employment action” is alleged, so these

allegations do not support a disparate treatment claim.

                      k.      Summary

        The court has carefully reviewed the Amended Complaint and

the   attached        City    Legal     Report.         None    of    Plaintiffs’        other

allegations states facts showing that any individual Plaintiff

is entitled to relief under any form of disparate treatment

theory (including disparate discipline and failure to promote).

Therefore, the court holds that the disparate treatment claims

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of Alexander and Evans may proceed, and the disparate treatment

claims of all other Plaintiffs are dismissed.

           3.   Retaliation

     The   Amended     Complaint   alleges    that    the      City    publicly

disclosed confidential and protected personnel information of

some or all Plaintiffs in retaliation for Plaintiffs’ assertion

of employment discrimination claims before the EEOC.                  (See Doc.

4 ¶¶ 115-19.)    The    City argues that the Amended Complaint is

devoid of any facts that support these allegations as to any

Plaintiff other than Rankin.        As for Rankin, the City contends

that his claim fails because the alleged retaliatory disclosures

occurred before he filed any document with the EEOC.                  Plaintiffs

do not respond to these arguments.

     Title VII’s prohibition on retaliation states:

     It shall be an unlawful employment practice for an
     employer to discriminate against any of his employees
     or applicants for employment . . . because he has
     opposed any practice made an unlawful employment
     practice by this subchapter, or because he has made a
     charge, testified, assisted, or participated in any
     manner in an investigation, proceeding, or hearing
     under this subchapter.

42 U.S.C. § 2000e-3(a).        To state a Title VII retaliation claim,

a plaintiff must allege that (1) he engaged in a “protected

activity,” (2) the employer acted adversely against him, and (3)

the adverse action was taken because of the protected activity.

Bryant v. Aiken Reg’l Med. Ctrs. Inc., 333 F.3d 536, 543 (4th


                                     54



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Cir. 2003); see Coleman, 626 F.3d at 190-91 (applying these

elements in the Rule 12(b)(6) context).                               The “adverse action”

required       in    the       retaliation       context         is    different       from     the

“adverse employment action” required in the disparate treatment

context.       See White, 548 U.S. at 67.                        A retaliation plaintiff

must    show    that       “a     reasonable        employee       would      have     found   the

challenged      action          materially       adverse,       ‘which     in    this       context

means it well might have dissuaded a reasonable worker from’”

engaging in the protected activity.                          Id. at 68 (quoting Rochon

v. Gonzales, 438 F.3d 1211, 1219 (D.C. Cir. 2006)) (internal

quotation marks omitted).

        The   Amended          Complaint      alleges     that        “[the     City’s]      public

disclosure of confidential and protected personnel information

were [sic] undertaken by them as part of an intentional scheme

of conduct to harass, intimidate, retaliate against, and damage

Plaintiffs          due    to     .     .    .   their         assertion        of    employment

discrimination claims before the EEOC.”                           (Doc. 4 ¶ 115.)            It is

unclear to what alleged actions this statement alludes, but it

may    refer    to       the    allegation       (discussed           earlier)       that    “in    a

meeting with the Greensboro Police Officers Association in about

June      2005,          [Wray]       publicly         discussed         the         details       of

investigations into allegations of criminal conduct, identifying

by     name    various          black       officers      of     the     Greensboro         Police

Department          in    connection         with     such      investigations.”               (Id.

                                                 55



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¶ 112.)      The Amended Complaint further alleges that the City’s

disclosure was motivated by an intention “to cause Plaintiffs to

suffer      injury    that    would      likely    chill    persons      of   ordinary

firmness from continuing to engage in Constitutionally protected

activity, including the filing of complaints with and pursuit of

redress from the EEOC.”            (Id. ¶ 116.)        According to the Amended

Complaint, the City’s alleged disclosure was “undertaken in bad

faith and for discriminatory reasons” (id. ¶ 117), “was not

related to any legitimate government objective” (id. ¶ 118), and

to    the   extent    it     was   not   intentional,      was    “the    product      of

deliberate indifference, malice, willfulness, and/or retaliation

by Defendant” (id. ¶ 119).                 The City argues that these are

nothing more than conclusory statements and that the Amended

Complaint is devoid of any factual allegations supporting these

assertions.

        The City is correct that the Amended Complaint contains

virtually        no   factual      allegations      regarding      these      supposed

retaliatory disclosures.            Aside from Patterson (whose claim has

already been dismissed) and Rankin, the Amended Complaint and

City     Legal    Report     do    not    allege    that    any   Plaintiffs      were

discussed        by   Wray    at   the     June     2005   meeting.           Moreover,

Plaintiffs do not allege what information was disclosed at this

meeting, other than that Wray pointed at Rankin and stated, “We

looked at you too, but cleared you,” or words to that effect.

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(Id. ¶ 112.)           The Amended Complaint does not allege any other

specific       incident       involving       the        disclosure         of        personnel

information.           Plaintiffs    have     wholly       failed      to       allege      facts

sufficient       to    “nudge[]     their         claims    across         the       line     from

conceivable to plausible,” Twombly, 550 U.S. at 570, with the

possible exception of Rankin.

        As to Rankin, the City contends that even assuming his

allegations about the June 2005 meeting are otherwise sufficient

to support a retaliation claim, Rankin did not file his EEOC

Intake Questionnaire until May 5, 2006, rendering it impossible

for    the     alleged    disclosures        in    June     2005      to    have       been     in

retaliation for that filing.                (See Doc. 8-5 at 66.)                    Plaintiffs

do not respond to this argument.

        Even     if     the   court      does        not        consider         the        Intake

Questionnaire, which was submitted by the City with its motion

to    dismiss,    Rankin’s     allegations          do     not   state      a       retaliation

claim, because there are no alleged facts plausibly showing a

causal connection between the alleged disclosures in June 2005

and some prior “protected activity” engaged in by Rankin.                                     See,

e.g., Gainer v. Spotswood Country Club, No. 5:10-CV-85, 2010 WL

5186699, at *4 (W.D. Va. Dec. 9, 2010) (“[T]o state a claim for

retaliation,          [plaintiff]     must        allege     ‘that         he       opposed     an

unlawful       employment     practice      or     participated        in       a    charge     or

other     proceeding      under     Title     VII;       that    he   has        suffered       an

                                             57



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adverse employment action; and that there is a causal connection

between the two.’” (quoting Balazs v. Liebenthal, 32 F.3d 151,

158 (4th Cir. 1994))).

        Therefore, the court finds that all Plaintiffs’ retaliation

claims based upon wrongful disclosure of personnel information

fail.

        The   City    interprets    Plaintiffs’     retaliation         claims     as

reaching no further than this, and Plaintiffs’ response brief

does not challenge that interpretation.             The court has carefully

examined the Amended Complaint and the City Legal Report and is

unable to find any other factual allegations plausibly stating a

retaliation claim in any other context.                The only allegations

remotely       suggesting        retaliatory     activity         are     Hunter’s

allegations that after he threatened to file a grievance with

the City Manager, Cherry was instructed to investigate Hunter’s

off-duty time reporting to establish evidence of possible fraud.

(Doc. 4 ¶ 93; Doc. 5 at 23 & n.6.)             After a preliminary inquiry,

Cherry ended the investigation, finding insufficient grounds for

continuing.      (Doc. 5 at 23-24.)            Even assuming that Hunter’s

threat to file a grievance was “protected activity,” the action

allegedly     taken    against    him   in   retaliation    was    not    “adverse

action” under White.        The only action taken against Hunter was a

preliminary inquiry that ended very quickly.                  Hunter has not

alleged that he was affected by this preliminary inquiry at all;

                                        58



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indeed, he does not even allege that he was questioned during

the     inquiry.      Consequently,       Hunter    has    failed         to    show   a

“materially adverse” action against him.

        Therefore,   all   Plaintiffs’      Title    VII   retaliation            claims

will be dismissed.

III. CONCLUSION

        For the reasons set forth above,

        IT IS THEREFORE ORDERED that Defendant City of Greensboro’s

Motion to Dismiss pursuant to Federal Rules of Civil Procedure

12(b)(1) and 12(b)(6) (Doc. 7) is GRANTED IN PART AND DENIED IN

PART.     The motion is GRANTED as to all Title VII claims brought

by Plaintiffs Ahmed Blake, Larry Patterson Jr., Frank Young, and

Darryl Stevenson, which are DISMISSED WITH PREJUDICE under Rule

12(b)(1) for lack of subject matter jurisdiction.                    The motion is

GRANTED as to all Title VII claims brought by Plaintiff Mitchell

Alston, which are DISMISSED WITH PREJUDICE under Rule 12(b)(6)

as    untimely.      The   motion    is    DENIED     as   to       (1)    all     other

Plaintiffs’ hostile work environment claims under Title VII, (2)

Plaintiff Steven A. Evans’ disparate treatment claim under Title

VII,     and   (3)   Plaintiff    Lawrence      Alexander       Jr.’s          disparate

treatment claim under Title VII.             The motion is GRANTED as to

all other Title VII claims brought by Plaintiffs, which are

DISMISSED WITH PREJUDICE for failure to state a claim pursuant

to Rule 12(b)(6).

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                                           /s/   Thomas D. Schroeder
                                        United States District Judge

January 4, 2011




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